Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 1 of 51




                EXHIBIT A
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 2 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 3 of 51




                EXHIBIT B
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 4 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 5 of 51




                EXHIBIT C
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 6 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 7 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 8 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 9 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 10 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 11 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 12 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 13 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 14 of 51




                 EXHIBIT D
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 15 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 16 of 51




                 EXHIBIT E
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 17 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 18 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 19 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 20 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 21 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 22 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 23 of 51




                 EXHIBIT F
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 24 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 25 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 26 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 27 of 51




                EXHIBIT G
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 28 of 51
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 29 of 51




                EXHIBIT H
3/31/22, 3:17 PM           Case  3:22-cv-01973-CRB
                             Accelerating Technology Innovation toDocument      45-4 Solve
                                                                  Better Help Consumers Filed 04/04/22
                                                                                            Their             Page
                                                                                                  Most Pressing       30Problems
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  Pressing Financial Problems




  Accelerating Technology Innovation to Better Help Consumers
  Solve Their Most Pressing Financial Problems
  NEWS (HTTPS://WWW.INTUIT.COM/BLOG/CATEGORY/NEWS-SOCIAL/)

  July 15, 2021 (https://www.intuit.com/blog/news-social/accelerating-technology-innovation-to-better-help-consumers-solve-their-most-pressing-financial-problems/) /
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  For nearly 20 years, Intuit has been a proud member of the Free File program, helping millions of Americans prepare and electronically file their tax returns for free.
  Today, over 90% of all taxpayers e-file their taxes and free tax preparation is currently available to 100% of American taxpayers through a combination of commercial,
  philanthropic, and IRS sponsored methods. We are proud that Intuit’s participation in the Free File program has helped the organization exceed its charter of increasing
  electronic filing to 80% and making free tax preparation available to 70% of filers.

  With the Free File program surpassing its founding goals of e-file and free tax preparation, and due to the limitations of the Free File program and conflicting demands
  from those outside the program, we are not able to continue in the program and deliver all of the benefits that can help consumers make more money, save more, and
  invest for the future. Thus, Intuit has elected to not renew its participation in the Free File program following the conclusion of this tax season in October. This decision
  will allow us to focus on further innovating in ways not allowable under the current Free File guidelines and to better serve the complete financial health of all Americans
  through all of our products and services, in tax preparation and beyond.

  Intuit’s goal is to democratize financial services that are usually only available to the wealthy by providing all Americans access to opportunities to improve their finances.
  Yet the Free File program is designed to focus solely on tax preparation and e-filing with strict requirements for user experiences. That leaves a huge gap for millions of
  Americans when they file their taxes and receive their tax refund, which is for many their biggest check of the year.

  We are committed to helping our customers solve their biggest financial challenges, and that means we need to focus on helping them not only get their biggest refund,
  but beyond tax preparation so they can increase savings, increase income, pay down debt and have faster access to their money. We can help more customers get access
  to their refund faster at no cost, to tap into expert resources at will, to choose to use their own data to better budget, save and invest – all of which we cannot effectively
  do as part of the Free File program.

  Without the limitations of the Free File program, Intuit can provide more financial benefits and empower Americans of all income levels to take control of their finances at
  a time they need it most. This includes:

         Instilling confidence in tax filers by removing obstacles in tax preparation by importing data beyond the tax return;
         Delivering access to tax and finance experts for personalized support free of charge or at a portion of the cost elsewhere;
         Using AI models to proactively intervene with customers when they may be making a mistake or appear confused;
         With customer consent, direct depositing refunds into free, high yield accounts so they can save more and invest to make their money work for them; and
         Extending completely free refund advances to help those in need make ends meet and enable financial benefits like lowering debt.

  As a company, we are committed to helping Americans solve their biggest financial challenges, including a goal of doubling the household savings rate for customers on
  Intuit’s platform. We have already helped our customers by advancing TurboTax filers $450 million in refunds completely free of charge over the last four years so they can
  get the money they need, when they need it. We have assisted low-income filers obtain more than $10 billion in Earned Income Tax Credit in tax year 2020 alone; saved
  Mint users $1 million per month in overdraft fees; saved Credit Karma members nearly $3,000 in interest over the life of their auto loan; helped employees get paid two-
  times faster through QuickBooks Payments; and supported businesses that have used QuickBooks survive beyond their fifth year at a rate of 60%, compared to the
  national average of only 50%. There is no question that we can only help solve more consumer financial problems by accelerating our innovation to deliver more benefits
  like these without the restraints of the Free File program.

  Intuit remains committed to free tax filing. With more free tax filings than all other tax prep software companies combined, Intuit is the industry leader in free tax
  preparation. Last tax season, Intuit delivered 17 million free tax filings, including approximately 3 million through Free File, and nearly 100 million free filings over the past
  8 years with nearly 90% of those free tax filings coming outside of the Free File program. Moving forward, Intuit is committed to continuing to offer free tax preparation
  while accelerating innovation to address all of consumers’ financial problems.

  We are obsessed with helping millions of Americans looking to take charge of their finances so they can prosper. Intuit’s AI-driven expert platform makes it simple for
  consumers to make better financial decisions, helping them not only receive their maximum refund but empowering them by putting control in their hands so they can
  make smart money decisions and realize their financial dreams.

  Focusing on innovative technologies will enable us to help our customers and all Americans manage their finances themselves, beyond the tax return, so they can
  increase savings, increase income, pay down debt, and have faster access to their money.




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3/31/22, 3:17 PM      Case  3:22-cv-01973-CRB
                        Accelerating Technology Innovation toDocument      45-4 Solve
                                                             Better Help Consumers Filed 04/04/22
                                                                                       Their             Page
                                                                                             Most Pressing       31Problems
                                                                                                           Financial of 51 - Intuit®: Official Blog
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     March 2020 (https://www.intuit.com/blog/2020/03/)
     February 2020 (https://www.intuit.com/blog/2020/02/)
     January 2020 (https://www.intuit.com/blog/2020/01/)
     December 2019 (https://www.intuit.com/blog/2019/12/)
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3/31/22, 3:17 PM         Case  3:22-cv-01973-CRB
                           Accelerating Technology Innovation toDocument      45-4 Solve
                                                                Better Help Consumers Filed 04/04/22
                                                                                          Their             Page
                                                                                                Most Pressing       32Problems
                                                                                                              Financial of 51 - Intuit®: Official Blog
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3/31/22, 3:17 PM        Case  3:22-cv-01973-CRB
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                                                               Better Help Consumers Filed 04/04/22
                                                                                         Their             Page
                                                                                               Most Pressing       33Problems
                                                                                                             Financial of 51 - Intuit®: Official Blog
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Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 34 of 51




                  EXHIBIT I
             Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 35 of 51

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    turbotax.




TurboTax Free
TY18 Style Guide
{DATE}
                                 Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 36 of 51



 Enduring Principles
 •    Be direct and clear and leave no doubt as to what the offer is
 •    Put the consumer benefit of paying $0.00 in the forefront
 •    Communicate that this offer is advantaged from other ‘so-called’ Free offerings because it is truly $0, has the
      proof of satisfied Millions of users behind it, and includes valuable features and benefits
 •    Cause consumers to call into question competitive ‘free’ offers
 •    Confirm TurboTax is superior


 Design Imperatives
 •    TurboTax brand mark is always present and positioned as the primary brand in this relationship.

       • When TurboTax Free is presented on a non-TurboTax branded page, the TurboTax brand mark should be
         close to or part of the Free lock-up.
       • When TurboTax Free is presented on a TurboTax page, the TurboTax brand mark can be less prominent.

 •    You do not need to use the offer name “TurboTax Free” as long as the TurboTax brand is prominent.
 •    Make “simple tax return” link to eligibility criteria so it’s easy to see if they qualify for Free Edition (on-site)


Mturbotax                                                                                                   Intuit Confidential and Proprietary   7
                                          Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 37 of 51

Free – Communication Hierarchy

                                                          TurboTax Branding* (Off-site)


                                                                    FREE Lock-up
                                                           Guaranteed: “Simple Tax Returns”**
                                               No Guarantee “Free Edition” or “Simple Tax Returns”** (off-site)



                                                                  Offer description
                                                                  “$0 Fed. $0 State. $0 to File”




                                                                 Flex Messaging
                                                              Warmth / Humanize
                                                                  (Use faces of customers)




 *TurboTax branding does not have to be the first                                       ** Simple tax returns or Free Edition must be “unavoidable” to consumers

@iturbotax                                                                                                                               Intuit Confidential and Proprietary   8
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 38 of 51




                 EXHIBIT J
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 39 of 51



   I   nTu IT                                      @turbotax   quickbooks   @proconnect   @pmint




                urbo lax FREE

          ,   Kelly Hansen, Erin Mrozek, Daina Hartin
    Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 40 of 51



Logo / Communication:                            Hierarchy

           TurboTax    Branding   (   Offsite)                   Tactical Direction
                                                                 When used          in lockup, “Free” and “$0 Fed. $0
                FREE (or) Free                                   State. $0 to File.” should be        prominent
                                                                 (examples   on slide 12)
          $0 Fed. $0 State. $0 to File ( or)
                                                             °                 is not required for
                                                                 The logo lockup
                                                                                       communications
                                                                   marketing/advertising
         Free Fed. Free State. Free to File.
                                                                 TurboTax branding     not have to first
                                                                                             does                             be



                                                                 “Simple Tax Returns” language must be
         Guaranteed (or) guaranteed                              unavoidable.         It is not required to inbe




                                                                 lockup, but does need to be included                      (in
                Simple Tax Returns                               copy or as hyperlink) in close proximity to
                                                                 mention       of   offer




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Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 41 of 51




                EXHIBIT K
              Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 42 of 51



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TurboTax Online Competitive
NPS TY18 2019 Study

       ax=)   ele)




July   2019




 1
                                                                           intuit
                                                                            QuickBooks.
     Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 43 of 51



TTO steady for 3 years as Credit Karma rises ~20 pts & Low-end Pro
TaxAct Online had a sharp decline in NPS (-11 pts.) in        TY2018
                                                                                           up
                                                                                                7              pts



                                    TTO NPS Trends vs. Direct Rivals
                                         all tenures, ages (18-64) and genders
                                       Includes

            80



                                                                                      73
            70
                 5
                                                        68                                 TurboTax                   Online




                                                                                            ——Block           Online
            60
                                                       53                             57
                         55

                 5                                      47                                           TaxAct      Online
            50           50

                                                                                      46


            40                                                                             Credit              Karma

                         35
                                                                                     #
            30                                                                             Block              Store

                                                        21
                                                                                      24

            20
                                                                                                     High End         Pro




                                                                                            —e—Low         End     Pro




                          TY2016                     TY2017                      TY2018




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Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 44 of 51




                 EXHIBIT L
    Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 45 of 51



What is a world-class NPS score?
    100

     90                                               Ritz
          Costco                                    Carlton     USAA       USAA
                Vanguard       Jet Blue USAA
             Amazon                             H-E-B
                     Netflix          Apple Apple          Amex       Cricket
                         Nordstrom.                                             TT
                             com                                                                                                                                                                                               Airbnb
                                                                    DHL            Allstate
                                                                                                                                                                                                                                    Kaiser
                                                                                                                                                                                                                           Walmart      VZ Fios

                                                                                                                                                                                                                                                                             VZ Fios
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                                                                                                                                                                                                                             6nug
     ●      A score of 70 puts us in the top 5% of all companies (noted in blue font)
     ●      A score of 50 puts us in the top 25% of all companies
InTUIT Source: 2018 Satmetrix NPS Benchmark data                                                                                                                                                                                                          Intuit Confidential and Proprietary   1
    Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 46 of 51




NPS scores across the software category

2019 NPS Score: Software & Apps

             Product
           TurboTax                                                                                       54
                 Lyft                                                     43
              Norton                                                 39
                Uber                                            34
              G Suite                                      32
     Microsoft Office                                  31
Adobe Creative Cloud                             26
              iCloud                        21
             McAfee                    17
            Evernote              13
            Average                                   30


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Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 47 of 51




                EXHIBIT M
Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 48 of 51




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Consumer Group
Business Models
{DATE}



 This    will be a good meeting if
   e    We share where we are in our new business model journey
        We build confidence that we are aggressively pursuing disruptive   approaches
   e    We provide line of sight on our path forward and learning plan



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          Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 49 of 51



Opportunity to better participate in 26M category churn

                                                                                                                lions      of customers               in play each year
                        CESTCETASEMENSEND                                                                                                      are

                                                                                                              TT Churn: Opportunity to further increase TT retention

                                               EINE                    tase       m0      ober                rates (~80% today) and shore up leaky bucket
                                                                                                             @ OPPORTUNITY: ~6.4M              FILERS
                   TY18      BASE (M)              132          69.0       15.4    32.2      14.9


              RETENTION             RATE          80%           85%        70%     80%       70%              DIY   switchers to DIY: TT captures 46% of competitive
                                                                                                              DIY    switchers today, far be/ow our fair share
             #   OF     DEFECTORS                  26           10.4       47                4.5

                                                                                                             @ OPPORTUNITY:           ~2M    FILERS

                    DEFECT           TO:
                                                                                                              Assisted    switchers to DIY: TT captures a vast majority
                                                   Che)         4.8        1.6     1.9       0.9                         of Assisted filers that move to the DIY category
                             Tax
                                    CPA's


                                    Stores         49           2.4
                                                                       ©   1.0     1.0       0.4
                                                                                                              (~86%)


                    TTO      Acquisition
                                                                2.8        1.7     0.0       1.4
                                                                                                             © OPPORTUNITY: ~0.7M             FILERS


                                                                                                              Assisted    switchers to Assisted: Until TT Live, TTO
                   Other    DIY Online             5.9           4         0.4     3.5       17
                                                                                                    ©         captured    0% of those churning in the assisted space
     TT   Penetration      of Defectors           30%           26%        3%      N/A       32%
                                                                                                                oprorTuNi::           ~10M    FILERS
TT   Penetration     of Churn      to DIY         49%           88%        82%     N/A       46%




                                             Dynamic      category where many switch, providing opportunity to improve retention and acquisition

                                                                                                                                                             Intuit Confidential and Proprietary   8




     Vet�retention�is�closer�to�84%�in�total�and�1st�year�around�62%...and�since�Vet�is�75%�of�our�
     population�we�land�at�~80%�in�total
          ●             The title columns across the top represent the various prep methods
          ●             The first row, “TY17 Base (M)” represents our estimates of how many
                        returns were filed by each prep method in TY17
          ●             The second row, “retention rate” represents our estimate of how well each
                        method retained those customers in TY18
          ●             The third row represents the number of customers each prep method did
                        not retain/defected in TY18 (1-retention rate * TY17 base)
          ●             Rows 4-7, “CPA’s” - ”Other DIY Online”, represent the specific prep method
                        that the defectors defected to. For example, out of the 26M total defectors,
                        9.3M went to CPA’s, 4.9M went to tax stores, 5.8M came to us,
                        etc...Another example: our of the 10.3M people that defected from CPA’s,
                        4.8M went to another CPA, 2.4M went to tax stores, etc.
          ●             Row 8, “TT penetration (Category)” represents the % of the TY17 Base
                        (row 1) that TTO captures. For example, if you take the 5.8M total returns
                        TTO got from churn (row 6) and divide it by the 132M total TY17 base
                        minus the 32.2M that we already have, you’ll get the 6%.
          ●             Row 9, “TT penetration (Churn)” represents the % of the total churn (row
                        3) that TTO captures. For example, if you take the 5.8M total returns TTO
                        got from churn (row 6) and divide it by the 26M total defectors minus the
                        6.4M that defected from us, you’ll get the 30%.
          ●             Row 10, “TT penetration (to DIY)” represents the % of the churn to DIY
                        (row 6 + row 7) that TTO captures. For example, if you take the 5.8M total
8
    Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 50 of 51
        returns TTO got from churn (row 6) and divide it by the total DIY churn
        in rows 6 + 7 (11.7M DIY defectors), you’ll get the 49%.




9
 Case 3:22-cv-01973-CRB Document 45-4 Filed 04/04/22 Page 51 of 51



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          24 1 M                                     5.9M
                                                 CATEGORY CHURN 26M                    1.2M
           RETAINED   TT   USERS                                                 NEW   TO CATEGORY 4M




                                               TTO USERS IN TY1 8
                                        FREE                           PAID


                                    12.6M        Veteran
                                                                  19.6
                                                             1% Year
                                          FH


                                                7.8M        3.4M




Retention Gains this year
Free 1st year +1.2 pt     Paid 1st +0.4pts
Free Veteran +1.0 pts     Paid Vet +0.8pts
